       Case 1:21-mi-55555-JPB Document 12 Filed 01/06/22 Page 1 of 5




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

IN RE GEORGIA SENATE BILL 202                         Master Case No.:
                                                      1:21-MI-55555-JPB


THE NEW GEORGIA PROJECT, et al.,

                         Plaintiffs,
                  v.                                  Civil Action No.:
                                                      1:21-cv-01229-JPB
BRAD RAFFENSPERGER, in his official
capacity as the Georgia Secretary of State, et al.,

                         Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                        Intervenor-Defendants.


GEORGIA STATE CONFERENCE OF THE
NAACP, et al.,
                 Plaintiffs,
                                                      Civil Action No.:
                  v.                                  1:21-cv-01259-JPB

BRAD RAFFENSPERGER, in his official
capacity as the Secretary of State for the
State of Georgia, et al.,

                         Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                        Intervenor-Defendants.
        Case 1:21-mi-55555-JPB Document 12 Filed 01/06/22 Page 2 of 5




SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH,
et al.,
                   Plaintiffs,
              v.                                         Civil Action No.:
BRIAN KEMP, Governor of the State of Georgia,            1:21-cv-01284-JPB
in his official capacity, et al.,

                         Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                         Intervenor-Defendants.


 STATE DEFENDANTS’ MOTION FOR RECONSIDERATION OR, IN
 THE ALTERNATIVE, CERTIFICATION FOR IMMEDIATE APPEAL

      Pursuant to this Court’s Civil Local Rule 7.2(E), Brian Kemp, Brad

Raffensperger, the State Election Board, Rebecca Sullivan, Sara Ghazal,

Matthew Mashburn, and Anh Le (“State Defendants”) hereby move for

reconsideration of this Court’s Orders of December 9, 2021, prior to the

consolidation of the SB 202 cases, in New Georgia Project v. Raffensperger, No.

21-cv-1229 [Doc. 86, Exhibit A]; Georgia State Conference of NAACP v.

Raffensperger, No. 21-cv-1259 [Doc. 64, Exhibit B]; and Sixth District of African

Methodist Episcopal Church v. Kemp, No. 21-cv-1284 [Doc. 110, Exhibit C],

denying State Defendants’ motions to dismiss the complaints. State

Defendants move the Court to reconsider whether Plaintiffs have standing



                                       2
       Case 1:21-mi-55555-JPB Document 12 Filed 01/06/22 Page 3 of 5




against State Defendants as to Count III of the First Amended Complaint in

New Georgia Project v. Raffensperger, No. 21-cv-1229 [Doc. 39, ¶¶ 177–184];

Count V of the Amended Complaint in NAACP v. Raffensperger, No. 21-cv-

1259 [Doc. 35, ¶¶ 223–32]; and Count IV of the First Amended Complaint in

Sixth District of African Methodist Episcopal Church v. Kemp, No. 21-cv-1284

[Doc. 83, ¶¶ 342–48]. In the alternative, State Defendants respectfully move

the Court to certify the Orders for immediate appeal of the issue of whether

Plaintiffs have standing to sue State Defendants as to the previously

mentioned counts under 28 U.S.C. § 1292(b).

                                   Respectfully submitted,

                                   Christopher M. Carr
                                   Attorney General
                                   Georgia Bar No. 112505
                                   Bryan K. Webb
                                   Deputy Attorney General
                                   Georgia Bar No. 743580
                                   Russell D. Willard
                                   Senior Assistant Attorney General
                                   Georgia Bar No. 760280
                                   Charlene McGowan
                                   Assistant Attorney General
                                   Georgia Bar No. 697316
                                   State Law Department
                                   40 Capitol Square, S.W.
                                   Atlanta, Georgia 30334

                                   /s/ Gene C. Schaerr
                                   Gene C. Schaerr*
                                   Special Assistant Attorney General

                                     3
       Case 1:21-mi-55555-JPB Document 12 Filed 01/06/22 Page 4 of 5




                                  Erik Jaffe*
                                  H. Christopher Bartolomucci*
                                  Brian J. Field*
                                  Riddhi Dasgupta*
                                  Joshua J. Prince*
                                  Annika M. Boone**
                                  SCHAERR | JAFFE LLP
                                  1717 K Street NW, Suite 900
                                  Washington, DC 20006
                                  (202) 787-1060
                                  gschaerr@schaerr-jaffe.com
                                  *Admitted pro hac vice
                                  **Pro hac vice motion forthcoming

                                  Bryan P. Tyson
                                  Special Assistant Attorney General
                                  Georgia Bar No. 515411
                                  btyson@taylorenglish.com
                                  Bryan F. Jacoutot
                                  Georgia Bar No. 668272
                                  bjacoutot@taylorenglish.com
                                  Loree Anne Paradise
                                  Georgia Bar No. 382202
                                  lparadise@taylorenglish.com
                                  Taylor English Duma LLP
                                  1600 Parkwood Circle
                                  Suite 200
                                  Atlanta, Georgia 30339
                                  (678) 336-7249
                                  Counsel for State Defendants

Dated: January 6, 2022




                                    4
       Case 1:21-mi-55555-JPB Document 12 Filed 01/06/22 Page 5 of 5




                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing Motion has been prepared in Century Schoolbook 13, a font and type

selection approved by the Court in L.R. 5.1(B).

                                          /s/ Gene C. Schaerr
